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  «AddressBlock»Fill in this information to identify the case:


  Debtor 1: Carmil Suggs
  Debtor 2:
  (Spouse, if filing)
  United States Bankruptcy Court for the: EASTERN District of Arkansas
  Case number: 18-16611


  Official Form 410S1                                                                                                                   Chapter 13

 Notice of Mortgage Payment Change                                                                                                            12/15


If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of Creditor: BANK UNITED N.A.,                                          Court claim no. (if known): 13-1

 Last four digits of any number                                               Date of payment change:            02/01/2022
 you use to identify the debtor’s           6527
                                                                              Must be at least 21 days after
 account:
                                                                              date of this notice                                            $824.97
                                                                                                                 Principal, interest and escrow, if any
                                                                              New total payment:
 Part 1: Escrow Account Payment Adjustment


 Will there be a change in the debtor’s escrow account payment?         Yes

 Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe the basis for the change.
 If a statement is not attached, explain why:

                         Current Escrow Payment:     $385.42                                        New Escrow Payment:        $343.14

 Part 2: Mortgage Payment Adjustment


 Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s variable-rate note? No

 Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law.
 If a notice is not attached, explain why:

                                Current Interest Rate:                                                       New Interest Rate:

                        Current principal and interest payment:                                   New principal and interest payment:

 Part 3: Other Payment Change


 Will there be a change in the debtor’s mortgage payment for a reason not listed above? No

 Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
 (Court approval may be required before the payment change can take effect.)

 Reason for change:

                             Current mortgage payment:                                                  New mortgage payment:
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Debtor 1: Carmil Suggs                                                          Case number (if known): 18-16611




Part 4: Sign Here


The person completing the Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number if
Different from the notice address listed on the proof of claim to which this Supplement applies.

Check the appropriate box:

     I am the creditor        X     I am the creditor’s authorized agent

                                  (Attach copy of Power of Attorney, if any.)

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge, information and
reasonable belief.



/s/ Shabrena Lynch-Horton                                                       Date: Jan 10, 2022
Signature

Print:   Shabrena Lynch-Horton                                                  Title: Authorized Agent


Company:     Liepold, Harrison & Associates


Address:    1425 Greenway Drive, Suite 250
            Irving, TX 75038

Contact Phone:                                                                  Email:   PCNInquiries@lha-law.com
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                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF Arkansas



 In Re:                                                                   Case No. 18-16611

 Carmil Suggs

                                                                          Chapter 13

                 Debtor(s)

                                      CERTIFICATE OF SERVICE
I hereby certify that on 01/10/2022, a true and correct copy of the foregoing Notice of Mortgage Payment
Change was served upon all interested parties pursuant to the Court’s CM/ECF system and/or by First Class
U.S. Mail.



                                                   By: /s/ Shabrena Lynch-Horton

                                                    BANK UNITED N.A.
                                                    1425 Greenway Drive, Suite 250
                                                    Irving, TX 75038


 Debtor
 Carmil Suggs
 1425 Ola St
 Conway, AR 72032




 Debtor’s Counsel
 Matthew David Mentgen
 P.O. Box 164439
 Little Rock, AR 72216

 Trustee
 Jack W. Gooding
 P.O. Box 8202
 Little Rock, AR 72221-8202

 U.S. Trustee
 Office Of U. S. Trustee
 200 W Capitol, Ste. 1200
 Little Rock, AR 72201
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                            CARRINGTON MORTGAGE SERVICES, LLC
                            P.O. Box 5001
                            Westfield, IN 46074


(800) 561-4567           FAX: (949) 517-5220




                                                           /P1                /   680
CARMIL A. SUGGS                                                                   YOUR LOAN NUMBER :
1425 OLA STREET
                                                                                  DATE: 12/20/21
CONWAY                         AR 72032




*** ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - LAST CYCLES ESCROW ACCOUNT HISTORY                                                 ***

THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE
ACTUAL ESCROW ACTIVITY BEGINNING MARCH, 2021 AND ENDING FEBRUARY, 2022. IF YOUR LOAN
WAS PAID-OFF, ASSUMED, OR TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS
BEING CHANGED, ACTUAL ACTIVITY STOPS AT THAT POINT. THIS STATEMENT IS INFORMATIONAL ONLY
AND REQUIRES NO ACTION ON YOUR PART.
                             - - - Y OUR PAY M E NT BR E AK DOW N AS OF M AR C H, 2 0 2 1 I S - - -
                             PRIN & INTEREST                                      481.83
                             ESCROW PAYMENT                                       337.55
                             SHORTAGE PYMT                                         47.87
                             TOTAL                                                867.25
            -- PAYMENTS TO ESCROW --     -- PAYMENTS FROM ESCROW --               -- ESCROW BALANCE --
MONTH       PRIOR PROJECTED ACTUAL PRIOR PROJECTED DESCRIPTION ACTUAL DESCRIPTION PRIOR PROJECTED ACTUAL
                                                                        STARTING BALANCE  = = = >           1170.38           3162.45-
MAR           337.55 *            342.72           69.69         FHA INSURA      69.69 FHA INSURA           1438.24           2889.42-
APR           337.55 *            685.44           69.69         FHA INSURA      69.69 FHA INSURA            535.72 TLP       3444.05- ALP
                                           0     1170.38         COUNTY TAX    1170.38 COUNTY TAX
MAY           337.55    *        685.44            69.69   *     FHA INSURA      67.86 FHA INSURA            803.58           2826.47-
JUN           337.55    *        342.72            69.69   *     FHA INSURA      67.86 FHA INSURA           1071.44           2551.61-
JUL           337.55    *        385.42            69.69   *     FHA INSURA      67.86 FHA INSURA           1339.30           2234.05-
AUG           337.55    *        385.42            69.69   *     FHA INSURA      67.86 FHA INSURA           1607.16           1916.49-
SEP           337.55    *        385.42            69.69   *     FHA INSURA      67.86 FHA INSURA           1875.02           1598.93-
OCT           337.55    *        385.42            69.69   *     FHA INSURA      67.86 FHA INSURA           2142.88           1281.37-
NOV           337.55    *        385.42            69.69   *     FHA INSURA      67.86 FHA INSURA           2410.74            963.81-
DEC           337.55    *       2628.44            69.69   *     FHA INSURA      67.86 FHA INSURA           2678.60           1596.77
JAN           337.55                       E       69.69         FHA INSURA                                 2946.46           1596.77
FEB           337.55                       E     2044.00         HOMEOWNERS                                 1170.32           1596.77
                                           0       69.69         FHA INSURA
TOT          4050.60             6611.86         4050.66                          1852.64
UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHES ITS LOWEST POINT, THAT BALANCE IS TARGETED
NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE LAW MAY
SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.
UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT ESCROW BALANCE
(TLP) WAS $535.72. YOUR ACTUAL LOW POINT ESCROW BALANCE (ALP) WAS $3,444.05-.
BY COMPARING THE PROJECTED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN
DETERMINE WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE
AMOUNT OR DATE OF THE PROJECTED ACTIVITY AND THE ACTUAL ACTIVITY.
THE LETTER "E" BESIDE AN AMOUNT INDICATES THAT THE PROJECTED ACTIVITY HAS NOT YET OCCURRED DUE TO THE
DATE OF THIS STATEMENT.
IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION
TO WHICH THE ACTUAL ACTIVITY COULD BE COMPARED.
Your projected escrow balance consists of the following detail (an * next to an amount
indicates this is a total that represents more than one payment to or disbursement from escrow):

Escrow pay ments up to escrow analy sis effectiv e date:
08/20               $342.72            09/20           $342.72            10/20         $1,713.60     *



           ***     ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - PROJECTIONS                                 ***
                PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED.
THIS STATEMENT TELLS YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR
ANY SHORTAGE OR DEFICIENCY THAT YOU MUST PAY. IT ALSO SHOWS YOU THE PROJECTED ESCROW
A C T I V I T Y F O R Y O U R E S C R O W C Y C L E B E G I N N I N G F E B R U A R Y, 2 0 2 2 A N D E N D I N G J A N U A R Y, 2 0 2 3.
---------------------   PROJECTED PAYMENTS FROM ESCROW - FEBRUARY, 2022 THROUGH JANUARY, 2023                                   --------------
                             HOMEOWNERS INSU                                      2,172.00
                             FHA INSURANCE                                          814.32
                             COUNTY TAX                                           1,170.38

                             TOTAL                                                4,156.70
                             PERIODIC PAYMENT TO ESCROW                             346.39      (1/12 OF "TOTAL FROM ESCROW")

                                               * * * * CONTINUED ON NEXT PAGE * * * *
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                                              * * * * CONTINUATION * * * *



-------------------- PROJECT ED ESCROW ACT IVIT Y - FEBRUARY, 2022 T HROUGH JANUARY, 2023 -----------------------
               ---- PROJECTED PAYMENTS --                            -- ESCROW BALANCE COMPARISON --
MONTH          TO ESCROW       FROM ESCROW       DESCRIPTION        PROJECTED       REQUIRED
                                ACTUAL STARTING BALANCE = = = >      3,102.88        3,063.85
FEB,22        346.39              2,172.00         HOMEOWNERS INSU               1,209.41              1,170.38
                                     67.86         FHA INSURANCE
MAR,22        346.39                 67.86         FHA INSURANCE                 1,487.94              1,448.91
APR,22        346.39                 67.86         FHA INSURANCE                   596.09 ALP            557.06 RLP
                                  1,170.38         COUNTY TAX
MAY,22        346.39                 67.86         FHA INSURANCE                   874.62                835.59
JUN,22        346.39                 67.86         FHA INSURANCE                 1,153.15              1,114.12
JUL,22        346.39                 67.86         FHA INSURANCE                 1,431.68              1,392.65
AUG,22        346.39                 67.86         FHA INSURANCE                 1,710.21              1,671.18
SEP,22        346.39                 67.86         FHA INSURANCE                 1,988.74              1,949.71
OCT,22        346.39                 67.86         FHA INSURANCE                 2,267.27              2,228.24
NOV,22        346.39                 67.86         FHA INSURANCE                 2,545.80              2,506.77
DEC,22        346.39                 67.86         FHA INSURANCE                 2,824.33              2,785.30
JAN,23        346.39                 67.86         FHA INSURANCE                 3,102.86              3,063.83

--------------------------------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE -----------------------------------

IF THE PROJECTED LOW POINT BALANCE (ALP) IS
GREATER THAN THE REQUIRED LOW POINT BALANCE (RLP) ,
THEN THERE IS AN ESCROW SURPLUS....                                          THE ESCROW SURPLUS IS....                   39.03 *


AT THE TIME OF YOUR BANKRUPTCY FILING, YOUR ESCROW SHORTAGE INCLUDED IN THE POC (PROOF OF CLAIM) IS $1,573.97.

*The statement assumes all past due payments have been made toward the loan. If there are past due payments,
this amount may not be accurate.
FEDERAL LAW REQUIRES ANY SURPLUS OF $50.00 OR MORE BE AUTOMATICALLY REFUNDED TO YOU.

------------------------------------- CALCULATIONS OF YOUR NEW PAYMENT AMOUNT ------------------------------------------------
                          PRIN & INTEREST                                481.83 *
                          ESCROW PAYMENT                                 346.39
                          SURPLUS REDUCTN                                  3.25-
BORROWER PAYMENT STARTING WITH THE PAYMENT DUE           02/01/22       ==>            824.97

* IF YOUR LOAN IS AN ADJUSTABLE RATE MORTGAGE, THE PRINCIPAL & INTEREST PORTION OF
  YOUR PAYMENT MAY CHANGE WITHIN THIS CYCLE IN ACCORDANCE WITH YOUR LOAN DOCUMENTS.
NOTE :       YOUR ESCROW BALANCE MAY CONTAIN A CUSHION. A CUSHION IS AN AMOUNT OF MONEY
             HELD IN YOUR ESCROW ACCOUNT TO PREVENT YOUR ESCROW BALANCE FROM BEING OVERDRAWN
             WHEN INCREASES IN THE DISBURSEMENTS OCCUR. FEDERAL LAW AUTHORIZES A MAXIMUM
             ESCROW CUSHION NOT TO EXCEED 1/6TH OF THE TOTAL ANNUAL PROJECTED ESCROW
             D I S B U R S E M E N T S M A D E D U R I N G T H E A B O V E C Y C L E . T H I S A M O U N T I S $ 6 7 5 . 1 1.
             YOUR LOAN DOCUMENTS OR STATE LAW MAY REQUIRE A LESSER CUSHION. YOUR MORTGAGE
             CONTRACT AND STATE LAW ARE SILENT ON THIS ISSUE. WHEN YOUR ESCROW BALANCE
             REACHES ITS LOWEST POINT DURING THE ABOVE CYCLE, THAT BALANCE IS TARGETED
             TO BE YOUR CUSHION AMOUNT.
             Y O U R E S C R O W C U S H I O N F O R T H I S C Y C L E I S $ 5 5 7 . 0 6.
 YOUR PROJECTED ESCROW BALANCE CONSISTS OF THE FOLLOWING DETAIL (AN * NEXT TO AN AMOUNT INDICATES
 THIS IS A TOTAL THAT REPRESENTS MORE THAN ONE PAYMENT TO OR DISBURSEMENT FROM ESCROW):

 Escrow disbursements up to escrow analy sis effectiv e date:
 01/22          $67.86      FHA INSURANCE



-VERBAL INQUIRIES & COMPLAINTS-
For verbal inquiries and complaints about         your mortgage loan, please contact the CUSTOMER SERVICE DEPARTMENT
for Carrington Mortgage Services, LLC, by         calling 1-800-561-4567. The CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC is toll         free and you may call from 8:00 a.m. to 8:00 p.m. Eastern Time,
Monday through Friday. You may also visit         our website at https://carringtonmortgage.com/ .

-IMPORTANT BANKRUPTCY NOTICE-
If you have been discharged from personal liability on the mortgage because of bankruptcy
proceedings and have not reaffirmed the mortgage, or if you are the subject of a pending
bankruptcy proceeding, this letter is not an attempt to collect a debt from you but merely
provides informational notice regarding the status of the loan.  If you are represented by
an attorney with respect to your mortgage, please forward this document to your attorney.

-CREDIT REPORTING-
We may report information about your account to credit bureaus. Late payments, missed payments,
or other defaults on your account may be reflected in your credit report.  As required by law,
you are hereby notified that a negative credit report reflecting on your credit record may be
submitted to a credit reporting agency if you fail to fulfill the terms of your credit
obligations.

-MINI MIRANDA-
This communication is from a debt collector and it is for the purpose of collecting a debt and
any information obtained will be used for that purpose. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from anyone who has discharged the debt under the bankruptcy laws of the
United States.

-HUD COUNSELOR INFORM AT ION-
If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership
counselors or counseling organizations in your area by calling the HUD nationwide toll-free
telephone number at (800) 569-4287 or toll-free TDD (800) 877-8339, or by going to
http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the CFPB at (855) 411-2372, or
by going to www.consumerfinance.gov/find-a-housing-counselor.




                                          * * * * CONTINUED ON NEXT PAGE * * * *
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                       CARRINGTON MORTGAGE SERVICES
                       P.O. BOX 5001
                       Westfield, IN 46074


(800) 561-4567 FAX: (949) 517-5220




                                           / P 2                    /   680
                                                                        YOUR LOAN NUMBER :
                                                                        DATE: 12/20/21



       -EQUAL CREDIT OPPORTUNITY ACT NOTICE-
       The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit
       applicants on the basis of race, color, religion, national origin, sex, marital status, or age
       (provided the applicant has the capacity to enter into a binding contract); because all or part
       of the applicant’s income derives from any public assistance program; or because the applicant
       has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal
       Agency that administers Carrington Mortgage Services, LLC's compliance with this law is the
       Federal Trade Commission, Equal Credit Opportunity, Washington, DC 20580.

       -SCRA DISCLOSURE-
       MILITARY PERSONNEL/SERVICEMEMBERS:    If you or your spouse is a member of the military, please contact us
       immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant protections
       and benefits to eligible military service personnel, including protections from foreclosure as well as interest
       rate relief. For additional information and to determine eligibility please contact our Military Assistance Team
       toll free at 1-888-267-5474.

       -NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED WRITTEN REQUESTS (QWR)-
       Written complaints and inquiries classified as Notices of Error and Information Requests or QWRs must be submitted
       to Carrington Mortgage Services, LLC by fax to 800-486-5134, or in writing to Carrington Mortgage Services, LLC,
       and Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan number on all pages
       of the correspondence.   You have the right to request documents we relied upon in reaching our determination. You
       may request such documents or receive further assistance by contacting the CUSTOMER SERVICE DEPARTMENT for
       Carrington Mortgage Services, LLC toll free at (800) 561-4567, Monday through Friday, 8:00 a.m. to 8:00 p.m.
       Eastern Time. You may also visit our website at https://carringtonmortgage.com/

       Arkansas Residents Only
       Carrington Mortgage Services, LLC ('CMS') is licensed with the Arkansas Securities Department. You may file
       complaints about CMS with the Arkansas Securities Department (Department) at 201 East Markham, Heritage West
       Building, Suite 300, Little Rock, Arkansas 72201. You may obtain further information by calling the Department's
       general information number at (501) 324-9260 or toll-free, (800) 981-4429 or faxing the Department at (501)
       324-9268 or visiting the Department's website at http://www.securities.arkansas.gov. For a list of standard or
       common loan servicing fees charged by CMS, please visit the CMS website at
       http://www.carringtonmortgage.com/schedule-of-fees
